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                     Exhibit 35
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     SUPPLEMENTAL DECLARATION OF BRANDON PADILLA

      1.    My name is Brandon Padilla, and I am over the age of 18 and fully

competent to testify.

      2.    I am the president and owner of Division 80 LLC.

      3.    Division 80 is a limited liability company organized under the laws

of Texas to transact any and all lawful business for which a limited liability

company may be organized under the Texas Business Organizations Code. It

is registered with the Texas Secretary of State’s Office and the Texas

Comptroller of Public Accounts. Its headquarters and physical office are at the

mailing address on file with the Texas Comptroller’s Office, 1001 Sue Drive,

Ste. A2, Kemah, Texas 77565. Our registered agent is LegalCorp Solutions,

which is located at 3 Greenway Plaza #1320, Houston, Texas 77046.

      4.    The furniture liquidation company identified by the government

on Facebook and Yelp is a previous tenant of the property in Kemah where

Division 80 is now located. Before Division 80 had secured the property in

Kemah, its mailing address was 700 Smith Street #61070, Houston, Texas

77002, which is a Post Office Box. After Division 80 secured the property in

Kemah, it changed its mailing address to that property’s address and began

conducting business operations at that property. Division 80 made the address

change and began conducting business in Kemah prior to the filing of Division

80 LLC v. Garland, No. 3:22-CV-00148 (S.D. Tex.).
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      5.     The government cites a late-night YouTube livestream in which

John Crump, a non-lawyer, referred to Division 80 as a “shell company.”

Neither I nor my lawyers have communicated with John Crump, and I do not

know what source he relied on in making that characterization. As the

following facts demonstrate, Division 80 is a real company that will be injured

by the Final Rule.

      6.     Division 80 is a distributor of frame and receiver blanks and jigs

and tools that can be used to build functioning frames and receivers from frame

and receiver blanks. Division 80 purchases those products at wholesale prices

from manufacturers that ship the products to our office in Kemah, Texas.

Division 80 then distributes those products to retailers in the state of Texas

and across the country through mail shipment.

      7.     The specific products sold by Division 80 so far since its founding

have come from two manufacturers of frame and receiver blanks: 80 Percent

Arms (www.80percentarms.com) and 5D Tactical (www.5dtactical.com). These

companies are identified by ATF in its Regulatory Impact Analysis and Final

Regulatory Flexibility Analysis as sellers of “partially complete” frames and

receivers that the Final Rule will treat as regulated frames and receivers once

it takes effect.

      8.     Division 80 completed its first sale in the year 2022. So far in 2022,

Division 80 has had over $200,000 in sales.
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      9.    Most of Division 80’s revenue comes from sales to retailers located

outside of Texas. We distribute products to retailers in a number of states.

      10.   The government has raised questions about whether Division 80

has an Internet presence. We have been working on developing a website and

social media presence for Division 80. I hope to one day use them to offer a

wider array of products to a broader customer base but have delayed those

marketing efforts pending the outcome of our preliminary-injunction motion.

Division 80 needs an order from this Court as soon as possible, as the lack of

clarity on whether the Final Rule is lawful and enforceable is already affecting

our business. Many business decisions (such as ordering inventory) must be

made based on projections about the future, months in advance, and right now

I do not know whether my business will even be lawful after August 24th. If

the Final Rule takes effect, I will have no choice but to dissolve my business.

      11.   I declare under penalty of perjury that the foregoing is true and

correct.



      Executed on July 8, 2022.



                                           _____________________________________________________________________


                                                           Brandon Padilla
